       Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 1 of 10




               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTSON DIVISION
                                      §
 In re                                §     Chapter 11 (Subchapter V)
 FREE SPEECH SYSTEMS LLC,             §
                                      §     Case No. 22-60043 (CML)
                                      §
                              Debtor. §       Jointly Administered
                                      §

     DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER (I) AUTHORIZING
         THE DEBTORS TO RETAIN AND EMPLOY HAROLD MAY AND
          EVIDENT TAX, LLC AS TAX CONSULTANTS AND ADVISORS


                         NOTICE PURSUANT TO LOCAL RULE 9013-1

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE.
IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE CHRISTOPHER LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

       Free Speech Systems, LLC, (“Debtor”), debtor, file this Application for Entry of an Order

(I) Authorizing the Debtors to Retain and Employ Harold May and Evident Tax, LLC as Tax

Consultants and Advisors (the “Application”), and in support thereof Debtors would respectfully

show the Court as follows:


                              SUMMARY OF APPLICATION


                                          -1-
       Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 2 of 10




       1.      Debtor seeks to retain and employ Mr. Harold “Hap” May (“May”) and his firm

Evident Tax, LLC (“Evident”) as Tax Consultant and Advisor to assist the Debtor with various

federal and state tax issues arising from the case and plan for repayment.

                                         JURISDICTION

       2.      This Court has jurisdiction by virtue of 28 U.S.C. § 1334. This matter is a core

proceeding pursuant to 28 U.S.C. §§ 157(b)(1), (b)(2)(A) and (M).

                                                VENUE

       3.      Venue is proper in this district pursuant to pursuant to 28 U.S.C. §§ 1408(1) and

(2) and 11 U.S.C. § 101(2)(A).

                                         BACKGROUND

       4.      The Debtor filed a voluntary petition for relief under Chapter 11 Subchapter V of

the Bankruptcy Code on July 29, 2022[Docket No. 1]. On August 2, 2022, Melissa Haselden was

appointed Subchapter V Trustee [Docket No. 22]. On October 13, 2022, the Court entered an order

authorizing the employment of Patrick Magill as Chief Restructuring officer (“CRO”) [Docket No.

239] and assist Debtor and provide services during the pendency of the chapter 11 Subchapter V

case including facilitating the reorganization of the Debtors’ assets.

                     ENGAGEMENT OF PROPOSED TAX ADVISORS


       5.      In this bankruptcy case, the Debtor seeks to legally minimize their large tax burden

while paying back the creditors. Evident and I are experienced in working with the diverse sections

of the Internal Revenue Code (“IRC”) and assisting companies minimize their tax burdens. The

services rendered or to be rendered by Evident and myself are:

              a. Provide information to debtor’s council for tax issues concerning the entity and

                  the plan of reorganization.



                                                  2
Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 3 of 10




     b. Devise and recommend tax related provisions of a plan that will minimize the

        burden to the entity while complying Federal and State Tax law;

     c. Be prepared to testify, if necessary, to provide the court with sufficient evidence

        in the form of expert testimony;

     d. Assist in the implementation of the plan and;

     e. Assist in Federal and State Tax law compliance and reporting requirements.

     f. Determine for federal income tax purposes:

         1.   If payments to judgment creditors of either actual damages or punitive

              damages are deductible

         2. When under the “all events test” in IRC §461 any deduction would be

              allowed

         3. If IRC §108 excludes income the Debtor may have from the discharge of

              indebtedness and if so, what is the effect on the Debtor’s tax attributes and

              future income and deductions

         4. If the status of being a disregarded entity is in the best interest of the

              creditors and other interested parties

         5. If the Debtor can and should elect to be taxed as a corporation

         6. If the Debtor can and should invoke the provisions of 11 USC § 505 (b)(2)

              to enable the Debtor to obtain an accelerated determination by the Internal

              Revenue Service (“IRS”)

         7. If the Debtor should obtain a private letter ruling (“PLR”) from the IRS

              under Revenue Procedure 2023-1

         8. If applicable prepare and file a PLR with the IRS




                                        3
       Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 4 of 10




                  9. Prepare a memorandum and if necessary, a brief in support of the tax

                     positions taken regarding the plan and any tax filings

                  10. Draft and review provisions of the plan and all related disclosures relevant

                     to any tax consequence

                  11. Assess the risk of adverse rulings from the IRS or other taxing authorities

                     and determine appropriate reserves and alternate strategies in the event of

                     an adverse tax ruling

                  12. Weigh the pros and cons of litigation any disputed tax ruling and assist in

                     the drafting of any pleadings in the event of any such litigation

                  13. Develop an understanding how the taxation of the Debtor has and will affect

                     the tax consequences of related parties

                  14. Review previously filed tax returns for the Debtor and related parties and

                     determine if any returns should be amended

                  15. Assist in the preparation of Debtor tax returns or if Debtor remains a DRE

                     then assist in the preparation of schedules and accountant’s workpapers

                     relating to the information delivered to the single member of the Debtor

                  16. Review corporate or LLC governance documents and contractual

                     documents affecting the Debtor to determine their effect on tax matters and

                     procedures relating to tax matters

                  17. Review statuary, regulatory and case law applicable to the tax matters

                     relevant to the Debtor.

       6.     In connection with the performance of its duties and obligations, the Debtor now

seeks authority to employ Mr. May and Evident Tax, LLC (“Evident”) for the purpose of assisting




                                               4
       Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 5 of 10




the Debtors in strategizing the best method to legally minimize various tax burdens to help ensure

maximum creditor repayment. Moreover, Mr. May and Evident will assist in drafting terms of the

repayment plan in such a way that the plan will comply with the Internal Revenue Code, any

applicable state tax provisions, and all applicable reporting requirements.

       7.      Mr. May and Evident have extensive experience in handling tax matters in

connection with bankruptcy cases. Mr. May is a Certified Public Accountant and a Board-Certified

Attorney in Tax law, with an L.L.M. in Tax Law. Mr. May has been selected to be an adjunct

professor of law at the University of Houston Law Center and will be teaching Bankruptcy Tax in

the spring of 2024. MMS has worked with the intersection of reorganization and tax for over thirty

(30) years and currently maintains offices at 1500 S. Dairy Ashford, Suite 325, Houston, Texas

77077. He and Evident also have a background in providing similar services to companies in

Debtor’s situation. Debtor will benefit from Mr. May’s pervasive experience as a Certified Public

Accountant. Mr. May’s resume is attached hereto as Exhibit A.

       8.      Mr. May and Evident require a retainer of $50,000.00. Mr. May and Evident will

provide these services on an hourly fee basis described as follows:

             Professional                                   Hourly Rate
             Harold “Hap” May                               $600.00
             Associate Attorneys                            $250.00

             Senior Accountants                             $350.00

             Accountants                                    $250.00

             Support Staff                                  $150.00 to $50.00


       9.      Debtor believes that Mr. May and Evident are well qualified to handle tax issues,

repayment plan provision drafting, and other compliance issues. The proposed Engagement Letter

with Mr. May and Evident is attached hereto as Exhibit B.



                                                 5
        Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 6 of 10




        10.      Debtor does not believe that the services to be provided by Mr. May and Evident

will unnecessarily overlap and duplicate with the services of other professionals in these cases. To

prevent any overlap and duplication, Debtor will coordinate with Mr. May and Evident and other

similarly situated professionals.

                                            DISINTERESTEDNESS

        11.      Mr. May and Evident have identified the following connections with other parties
in interest:

                a. Mr. May was a former employee of Hoover Slovacek, LLP (“HSLLP”). His
                   employment ended nine (9) years ago, in August 2014. While at HSLLP he
                   worked with Melissa Haselden on various bankruptcy matters. After leaving, he
                   and Melissa Haselden maintained a working relationship through a few
                   bankruptcy cases needing the services of a tax professional.

                b. Mr. May has worked with Chief Restructuring Officer Patrick Magill on South
                   Coast Supply’s bankruptcy case 1 during June 2018. In that case, Patrick Magill
                   was the Chief Restructuring Officer. South Coast Supply sold substantially all
                   its assets to Solstice Capital, LLC, of which Mr. May owns a fifteen percent
                   (15%) interest in. After the sale, Solstice Capital, LLC entered into an agreement
                   with Patrick Magill for consulting services lasting approximately 12 months.

                c. Mr. May represents Patrick Magill in Mr. Magill’s capacity as Liquidating
                   Trustee in The Tifaro Group Ltd. case. 2 This case and Mr. May representation
                   in this case are ongoing.

                d. Mr. May represented Patrick Magill in a case styled DMM Group, Inc v. J.
                   Patrick Magill et al. 3 This case was resolved in the summer of 2021 and the
                   representation then ended.

Debtors do not believe that these connections create an adverse relationship with their estates.

        12.      In compliance with 11 U.S.C. §327(a) and Rule 2014, Mr. May and Evident have

attached the declaration of Harold May (the “May Declaration”) as Exhibit C, detailing the


1
  Case No. 17-35898 US Bankruptcy Court for the Southern District of Texas Houston Division
2
  Case No. 17-80171-11 US Bankruptcy Court for the Southern District of Texas Galveston Division
3
  Cause No. 2008-63200 in the District Court of Harris County Texas 281 Judicial District



                                                      6
         Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 7 of 10




foregoing connections with the Debtor and other parties in interest. Based upon the May

Declaration and Debtor’s knowledge, Mr. May and Evident do not represent any interest adverse

to Debtor, its estate, creditors, equity holders, or affiliates in the matters upon which Mr. May and

Evident are to be engaged and are a “disinterested person” within the meaning of section 101(14)

of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code, and as required

by § 327(a) of the Bankruptcy Code.

         13.   To the extent the Declaration does not disclose a connection, Debtor believes any

unknown and undisclosed connections are not sufficient to prohibit employment of Mr. May and

Evident as Tax Advisors and Consultants for the Debtor. Further, if Mr. May and Evident discover

any information not disclosed herein or in the Declaration, which is deemed to require disclosure,

Mr. May and Evident will file a supplemental disclosure with the Court.

         14.   No previous application for the relief requested herein has been made in this case.

         15.   The Debtor does not believe that the connections disclosed herein are sufficient to

prohibit the limited engagement contemplated herein.

                                         LEGAL BASIS
         16.   Courts routinely approve the employment of consultants and professionals. See In

re Logix Communications, Case No. 02-32105-H5-11 (Bankr. S.D. Tex.); In re American

Homestar, Case No. 01-80017-G3-11 (Bankr. S.D. Tex.); In re Perry Gas Companies, Inc., 00-

37884-H5-11 (Bankr. S.D. Tex.); In re American Rice, Case No. 98-21254-C-11 (Bankr. S.D.

Tex.).

         17.   Retention of professionals is specifically provided for in the Bankruptcy Code.

“[T]he trustee, with the court’s approval, may employ one or more . . . other professional persons

that do not hold an interest adverse to the estate ....” 11 U.S.C. §327(a). Such professionals must




                                                 7
       Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 8 of 10




not have a connection with Debtor and must be “disinterested persons” as that term is defined in

the code.

       18.     As set forth in the Declaration, Mr. May, Evident and its employees are

disinterested persons as contemplated by 11 U.S.C. § 327(a). Any connections between Debtor

and Mr. May and Evident do not create a materially adverse interest to Debtor’s bankruptcy estates

or any class of creditors or security equity holders. Accordingly, these connections do not preclude

employment of Mr. May and Evident in this matter. Moreover, Mr. May’s proficiency and

familiarity with specialized Tax matters and its effect on Chapter 11 Debtors will legally save the

estate costs and ultimately benefit the estate.

       19.     Additionally, Debtor asserts that the proposed compensation to Mr. May and

Evident as set forth above and in the Engagement Agreement is both reasonable and well within

the range of fees and commissions typically paid to accountants in connection with transactions

and projects similar to those contemplated in this instance. For the foregoing reasons, Debtor assert

that employment of Mr. May and Evident on such terms and conditions is in the best interest of all

parties in interest in these cases. Therefore, approval of Mr. May and Evident’s compensation

under section 327(a) of the Bankruptcy Code is appropriate.

       20.     Based on the foregoing, Debtor request that the retention of Mr. May and Evident

as Tax Advisors and Consultants for Debtors.

                                   Reimbursement of Expenses

       21.     Mr. May and Evident informed the Debtor that disbursements for expenses are not

included in the Firm’s hourly rates and will be separately billed as expenses of this proposed

engagement. A table demonstrating the expenses is below. Subject to the limitations set forth in




                                                  8
          Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 9 of 10




General Order 2001-2, Mr. May and Evident will charge the actual cost of these expenses in a

manner and at rates consistent with charges made to Mr. May and Evident’s other clients.

                Client Expenses                           Hourly Rate
                Deliveries & Couriers                     At Cost
                Travel, Lodging and Meals*                At Cost (No charge for travel)

                Filing Fees & Misc. Expenses              At Cost



Expenses will be billed at the rates listed below in accordance with normal and customary billing

practices.

          22.     Based on the foregoing, Debtor submits that the retention of Mr. May and Evident

to devise a strategy for the tax issues in compliance with the IRC and the Bankruptcy Code, is in

the best interests of the Debtor’s estate.

          WHEREFORE, Debtor prays that the Court authorize the employment of Mr. May and

Evident to advise a strategy for legally the Debtor’s tax burdens in compliance with the IRC, state

tax laws, the Bankruptcy Code, assist with other tax compliance and reporting issues, and related

work described in the Engagement Letter, and grant such other and further relief as is just and

proper.

DATED: July 12, 2023




                                    CERTIFICATE OF SERVICE

        I certify that on the July 12, 2023, a copy of the foregoing Debtors’ Application for Entry
of an Order (I) Authorizing the Debtors to Retain and Employ Harold May and Evident Tax, LLC
as Tax Consultants and Advisors was sent to the parties listed below by the Court’s ECF
notification system and via First-Class U.S. Mail to parties listed on the Master Service List. A



                                                  9
      Case 22-60043 Document 669 Filed in TXSB on 07/12/23 Page 10 of 10




supplemental declaration of mailing evidencing service on all other parties to the Master Service
List will be filed separately.




                                               10
